                                 OPINION
{¶ 1} Richard Fore entered a plea of guilty to aggravated robbery, a first degree felony, and was sentenced to three years imprisonment. Three years is the minimum prison term authorized by statute for a first degree felony. The three-year prison sentence was ordered to be served concurrently with two six-month sentences, also concurrent, that the trial court imposed in a companion case.
  {¶ 2} A notice of appeal was filed on Fore's behalf and counsel was appointed to prosecute an appeal. On December 19, 2005, appointed appellate counsel filed an Anders brief pursuant to Anders v. California (1967), 386 U.S. 738, wherein counsel represented to the court that after review of the record and the applicable law, he could find no potentially meritorious issues to advance on appeal.
  {¶ 3} On December 22, 2005, we informed Fore by decision and entry that his appellate counsel had filed an Anders brief and of the significance of an Anders brief. We invited Fore to file pro se assignments of error with this court within sixty days of December 22, 2005. Fore has filed nothing with this court. Pursuant to our responsibilities under Anders, we have conducted a thorough review of the record in this case, and we conclude as did appointed appellate counsel that there are no potentially meritorious issues to advance on appeal, and that this appeal is wholly frivolous.
  {¶ 4} Significantly, sentencing in this case does not implicate any of the statutes found to be unconstitutional inState v. Foster ___ Ohio St.3d ___, 2006-Ohio-856.
  {¶ 5} Accordingly, the judgment will be affirmed.
Grady, P.J. and Donovan, J., concur.